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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                      )
                                               )
                     Plaintiff,                )                 8:08CR281
                                               )
       v.                                      )   REPORT AND RECOMMENDATION
                                               )               AND
JOSE A. ROBLEDO,                               )             ORDER
                                               )
                     Defendant.                )


       At the conclusion of the hearing on September 18, 2008, on the defendant’s motions
to suppress evidence, I stated my conclusions on the record and my decision to
recommend that the motions to suppress be denied.                 In accordance with that
announcement,


       IT IS RECOMMENDED to the Chief Judge Joseph F. Bataillon that the motions to
suppress, Filing Nos. 35 and 37, be denied in their entirety.


       FURTHER, IT IS ORDERED:
       Pursuant to NECrimR 57.3 any objection to this Report and Recommendation shall
be filed with the Clerk of the Court within ten (10) business days after the transcript is
available to counsel for reading in the clerk’s office. Failure to timely object may constitute
a waiver of any such objection. The brief in support of any objection shall be filed at the
time of filing such objection. Failure to file a brief in support of any objection may be
deemed an abandonment of the objection.
       Dated this 22nd day of September, 2008.
                                           BY THE COURT:
                                           s/Thomas D. Thalken
                                           United States Magistrate Judge
